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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         COURT FILE NO.: 15 CV-60255-Bloom/Valle


  ARTERRIA BERNAY MCCUTCHEON,

                 Plaintiff,
  v.

  PREMIER RECOVERY GROUP, INC.,

                Defendants.


                                    NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) having amicably resolved all matters in

 controversy, the Plaintiff files this Notice of Dismissal with Prejudice of this action. The Court is

 respectfully requested to retain jurisdiction solely for the purpose of enforcing the settlement

 agreement should the need arise. The effectiveness of this stipulation is conditioned on the Court's

 entry of an order retaining jurisdiction. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272

 (11th Cir. 2012).




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
 on May 18, 2015 with the Clerk of Court using CM/ECF. I also certify that the foregoing document
 is being served this day on all counsel of record or pro se parties identified on the Service List
 below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to receive
 electronically Notices of Electronic Filing.



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